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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 LARRY TUBBS, TUBBS RICE DRYERS,
 INC., CHIEF VENTURES, L.L.C., and BIG
 RIVER GRAIN,

               Plaintiffs,

        v.                                         C.A. No. 1:22-cv-00503-RGA

 AGSPRING MISSISSIPPI REGION, LLC,
 AGSPRING, LLC, AGSPRING HOLDCO,
 LLC, PACIFIC INVESTMENT
 MANAGEMENT COMPANY LLC, and
 BARINGS LLC,

               Defendants.

                   STIPULATION OF DISMISSAL WITH PREJUDICE

       WHEREAS, on September 30, 2019, Plaintiffs Larry Tubbs, Tubbs Rice Dryers, Inc.,

Chief Ventures, L.L.C. and Big River Grain, LLC filed a lawsuit in the Sixth Judicial District

Court for the Parish of Madison, State of Louisiana, Case No. 19-198 against Defendants Agspring

Mississippi Region, LLC, Agspring, LLC, Agspring Holdco, LLC, Greg Kennedy, Mark Beemer,

Pacific Investment Management Company, LLC, Barings LLC, Bruce Chapin, “ABC Insurance

Company,” and “XYZ Insurance Company” (the “Louisiana Action”); and

       WHEREAS, on December 9, 2019, Plaintiffs filed a First Amended Petition in the

Louisiana Action naming American Infrastructure MLP II IP Feeder LP, American Infrastructure

MLP Management II, L.L.C., American Infrastructure MLP PE Management, L.L.C., American

Infrastructure MLP Yield Management, L.L.C. and American Infrastructure MLP Funds, L.P.

(collectively, the “AIM Defendants”) as additional defendants; and




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        WHEREAS by Order of the Sixth Judicial District Court for the Parish of Madison, State

of Louisiana dated December 11, 2020 Plaintiffs’ claims against the AIM Defendants only were

dismissed; and

        WHEREAS, by Order of the Sixth Judicial District Court for the Parish of Madison, State

of Louisiana dated June 23, 2002, the Plaintiffs dismissed with prejudice all claims against

individual defendants Greg Kennedy, Mark Beemer and Bruce Chapin; and

        WHEREAS on September 10, 2021, Agspring Holdco, LLC, Lake Providence Rice and

Grain, LLC, and Agspring Mississippi Region, LLC filed a notice of removal, seeking to remove

the Louisiana Action from the Sixth Judicial District Court, Parish of Madison, State of Louisiana

to the United States District Court for the Western District of Louisiana; and

        WHEREAS, on April 20, 2022, the United States District Court for the Western District of

Louisiana transferred the Louisiana Action to the United States District Court for the District of

Delaware; and

        WHEREAS, pursuant to the Order Granting Debtors’ Motion for Approval of Global

Settlement and Resolution by and Between the Agspring Parties and the Tubbs Parties Pursuant

to Bankruptcy Rule 9019 and Bankruptcy Code Sections 363 and 105(a) entered on May 10, 2022

in the bankruptcy case pending before The Honorable Craig T. Goldblatt in the Bankruptcy Court

for the District of Delaware captioned In re Agspring Mississippi Region, LLC, et al., Bankr. D.

Del. Case No. 21-11238 (CTG) [D.I. 385], the undersigned counsel who have entered appearances

for the remaining parties in the Louisiana Action1 seek to dismiss the above-captioned civil action

(this “Action”) with prejudice.




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  “ABC Insurance Company” and “XYZ Insurance Company” were never served, and have never entered appearances
in the Louisiana Action.

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         NOW THEREFORE, it is hereby stipulated and agreed, that this Action be dismissed with

prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each party to bear its

own fees and costs.

Dated: May 17, 2022

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